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                      Exhibit A
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                                   Texas v. Biden Monthly Report
                         Reporting Period: October 1, 2021 – October 31, 2021


(1) The total monthly number of encounters 1 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions 2 between the ports of entry along the
SWB, Office of Field Operations (OFO) Title 8 Inadmissibles 3 at land ports of entry along the SWB, and Title
42 Expulsions 4 at and between the ports of entry along the SWB.

    October 2021 as of November 4, 2021               Title 42       Title 8     Total Encounters
    Office of Field Operations                             1,837        3,891                         5,728
      El Paso Field Office                                   171          232                           403
      Laredo Field Office                                    649          578                         1,227
      San Diego Field Office                                 845        2,879                         3,724
      Tucson Field Office                                    172          202                           374
    U.S. Border Patrol                                    91,839       66,736                       158,575
      Big Bend Sector                                      3,232          372                         3,604
      Del Rio Sector                                      14,343       13,768                        28,111
      El Centro Sector                                     4,083          959                         5,042
      El Paso Sector                                      11,179        2,813                        13,992
      Laredo Sector                                        6,846          597                         7,443
      Rio Grande Valley Sector                            24,157       21,167                        45,324
      San Diego Sector                                    10,922        3,396                        14,318
      Tucson Sector                                       15,122        3,996                        19,118
      Yuma Sector                                          1,955       19,668                        21,623
    Grand Total                                           93,676       70,627                       164,303




1
  The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
2
  Apprehension refers to the physical control or temporary detainment of a person who is not lawfully in the U.S. which may or may
not result in an arrest.
3
  Inadmissible refers to individuals encountered at ports of entry who are seeking lawful admission into the United States but are
determined to be inadmissible, individuals presenting themselves to seek humanitarian protection under our laws, and individuals who
withdraw an application for admission and return to their countries of origin within a short timeframe.
4
  Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of last transit or home country in the
interest of public health under Title 42 U.S.C. 265.

                                                                 1
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(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any other statute;

         •   Title 42 expulsions at and between the ports of entry along the SWB 5

                           October 2021 as of November 4, 2021                  Title 42
                           Office of Field Operations                                   1,837
                             El Paso Field Office                                         171
                             Laredo Field Office                                          649
                             San Diego Field Office                                       845
                             Tucson Field Office                                          172
                           U.S. Border Patrol                                          91,839
                             Big Bend Sector                                            3,232
                             Del Rio Sector                                            14,343
                             El Centro Sector                                           4,083
                             El Paso Sector                                            11,179
                             Laredo Sector                                              6,846
                             Rio Grande Valley Sector                                  24,157
                             San Diego Sector                                          10,922
                             Tucson Sector                                             15,122
                             Yuma Sector                                                1,955
                           Grand Total                                                 93,676

         •   Removals/Returns under Title 8

             Southwest Land Border (Based on Encounter Date)6: 7,722
                • BP Removals/Returns: 7,016
                       o Bag and Baggage7: 84
                       o Voluntary Return8: 2,303
                       o Expedited Removal: 3,102
                       o Reinstatement of Removal: 1,527
                       o Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C): 0
                • OFO Removals/Returns: 706
                       o Bag and Baggage: 1
                       o Voluntary Return: 132
                       o Expedited Removal: 111
                       o Reinstatement of Removal: 13
                       o Withdrawal of Application for Admission: 449
                       o Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C): 0


5
  Same as Title 42 expulsion data provided in response to 1 above.
6
  Indicates that the noncitizen was encountered during the reporting period (October 1, 2021 – October 31, 2021).
7
  When a noncitizen encountered or apprehended by CBP has been previously ordered removed by an immigration judge and the order
was never executed (i.e., in absentia). The removal order may be immediately executed by CBP or CBP may turn the noncitizen over
to ICE for removal.
8
  Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on a voluntary basis, in lieu of being
formally removed or placed into removal proceedings.

                                                                   2
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(3) Defendants’ total detention capacity as well as current usage rates;

         OFO Holding Capacity – Southwest Border in Custody 9


                   Detention Capacity            October 2021


                            935                  123 (13.2%) 10


         USBP Average Daily Subjects In Custody by Southwest Border Sector 11

                             USBP Sector             October 2021
                            Big Bend                      23
                            Del Rio                      839
                            El Centro                    293
                            El Paso                      550
                            Laredo                       372
                            Rio Grande                  2,572
                            San Diego                    480
                            Tucson                       456
                            Yuma                        1,571
                            Total                       7,156




9
  Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied
by the total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances
that may limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it
reflect operational limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities
depends on many factors, including: demographics of the individual in custody; medical or other needs of individuals in custody;
ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of
CBP custody; and OFO's available resources to safely process and hold individuals.
10
   Represents the average number of travelers in custody on a daily basis averaged over the 30-day period, at all Southwest Border
Field Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees, and United States
Citizens who are being detained to verify wants, warrants, criminal, administrative or other judicial process.
11
   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing
and transfer of individuals encountered by agents. Maximum facility capacity along the southwest border is approximately 4,750,
which assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on
characteristics of in-custody population, to include demographics, gender, criminality, etc. The average percentage of subjects in
custody on a daily basis is 150.65%, which is averaged over the 30-day period and includes all Southwest Border Sector locations.

                                                                    3
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(4) The total monthly number of “applicants for admission” 12 under Section 1225;

           October 2021 as of November 4, 2021                    Title 8
           Office of Field Operations                                    3,891
             El Paso Field Office                                          232
             Laredo Field Office                                           578
             San Diego Field Office                                      2,879
             Tucson Field Office                                           202
           U.S. Border Patrol                                           66,736
             Big Bend Sector                                               372
             Del Rio Sector                                             13,768
             El Centro Sector                                              959
             El Paso Sector                                              2,813
             Laredo Sector                                                 597
             Rio Grande Valley Sector                                   21,167
             San Diego Sector                                            3,396
             Tucson Sector                                               3,996
             Yuma Sector                                                19,668
           Grand Total                                                  70,627


(5) The total monthly number of “applicants for admission” under Section 1225 paroled into the United
    States; and
               • OFO NTA and Paroled into the U.S. on a case-by-case basis pursuant to 8 U.S.C. §
                 1182(d)(5): 2,998
               • BP Apprehensions with Parole Disposition: 9,827
               • OFO Inadmissible Aliens with Parole Disposition: 626

(6) The total monthly number of “applicants for admission” under Section 1225 released into the United
    States, paroled or otherwise.” 13
               • BP Notice to Report 14: 4
               • BP NTA-Order of Release on Recognizance: 17,094
               • OFO NTA and Paroled into the U.S. on a case-by-case basis pursuant to 8 U.S.C. §
                  1182(d)(5): 2,998
               • BP Apprehensions with Parole Disposition: 9,827
               • OFO Inadmissible Aliens with Parole Disposition: 626

12
   An applicant for admission is defined as “[a]n alien present in the United States who has not been admitted or who arrives in
the United States (whether or not at a designated port of arrival and including an alien who is brought to the United States after having
been interdicted in international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include
noncitizens that have never been encountered by CBP. At this time, CBP does not have a mechanism to track all applicants for
admission in the United States that are not encountered by CBP. CBP has included the same data as the Title 8 encounter data
provided in response to 1 above.
13
   All numbers in reporting requirement 6 are “based on encounter date,” as defined above.
14
   Individuals who are screened by CBP, and after criminal and immigration records checks are conducted to determine if the subject
is a threat to national security or public safety, are then released and instructed to report to U.S. Immigration and Customs
Enforcement (ICE) for continued processing.
                                                                    4
